        Case 15-11803        Doc 95     Filed 04/21/18 Entered 04/22/18 00:41:39             Desc Imaged
                                       Certificate of Notice Page 1 of 9
                                       United States Bankruptcy Court
                                         District of Massachusetts
In re:                                                                                  Case No. 15-11803-jnf
Vertex Fab & Design, LLC                                                                Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0101-1           User: chy                    Page 1 of 4                   Date Rcvd: Apr 19, 2018
                               Form ID: pdf012              Total Noticed: 179


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 21, 2018.
db             +Vertex Fab & Design, LLC,     29 Abbey Lane,    Middleboro, MA 02346-3230
aty            +Carol L. Ricker,    Pelletier Marshall & Clark, LLC,      36 Vermont Avenue, Unit 4,
                 Warwick, RI 02888-3023
cr             +Tendco R&D Corporation,     c/o Gary W. Cruickshank, Esq.,     21 Custom House Street,    Ste. 920,
                 Boston, MA 02110-3525
19514413       +A2Z Machining,    1 Wamsutta Street,     New Bedford, MA 02740-7335
19514414       +AA Precission Machine Co., Inc,     300 Currant Road,     Fall River, MA 02720-4711
19514415       +ABC Disposal Service, Inc.,     PO Box 674207,     Detroit, MI 48267-4207
19514416       +ABC Testing, Inc.,    90 First Street,     PO Box 868,    Bridgewater, MA 02324-0868
19514421       +AIR ENERGY, INCORPORATED,     6 Norfolk Avenue,,     South Easton, MA 02375-1156
19514417       +Accountemps,    12400 Collections Drive Center,      Chicago, IL 60693-0124
19514418       +Accounting Management Solutions, Inc,      800 South Street,    Suite 195,    Waltham, MA 02453-1473
19514419       +Admark Coatings, Inc,    360 Gendron Road,     Unit 4,    Plainfield, CT 06374-1777
19514422       +Airgas East,    130 Cross Road,    Waterford, CT 06385-1204
19528627        Airgas USA, LLC,    P.O. Box 802576,     Chicago, IL 60680-2576
19514424       +American Alloy Steel,    PO Box 40469,     Houston, TX 77240-0469
19514425       +Anchors Unlimited,    1 Anchor Drive,     Verona, PA 15147-1136
19514426       +Arbella Insurance Group,     PO Box 55392,    Boston, MA 02205-5392
19514427       +Arcadia Manufacturing Group,     80 Cohoes Ave,     Green Island, NY 12183-1505
19514428       +Associated Marketing Systems, Inc,      2 Kleen Way,    Holbrook, MA 02343-1304
19514430       +Atlantic Rubber Company,     37 Ayer Road,    Littleton, MA 01460-1034
19514431       +Atlantic Stainless Co., Inc,     140 John Dietsch Square,     N. Attleboro, MA 02763-1028
19514432       +B&L Mechanical, Inc.,    PO Box 6682,     Greenville, SC 29606-6682
19514433       +B-C Industries,    12 Hawksley Rd,     Oxford, MA 01540-2856
19514434       +Bay State Galvanizing Company, Inc.,      128 Spring Street,    Everett, MA 02149-4505
19514435       +Benoit Language Services, Inc,     33 South street,     Northboro, MA 01532-2663
19514436       +Boston Mutual Life Insurance Company,      120 Royall Street,    Canton, MA 02021-1098
19514437       +Botelho & Associates, LLC,     901 Eastern Ave Suite 2,      Fall River, MA 02723-2848
19514438       +Brighton True-Edge Heads,     PO Box 630398,    Cincinnati, OH 45263-0398
19514439       +Buereau Veritas,    P.O. Box 277908,     Atlantic, GA 30384-7908
19514445       +CCR LLP,    c/o Grant Thornton,    75 State Street,     Boston, MA 02109-1827
19514440       +Caldon, Inc.,    19 Oliver Road,    Enfield, CT 06082-5511
19514441       +Capco Crane & Hoist, Inc.,     58 Forest Ridge Drive,     Rowley, MA 01969-2143
19514442       +Carolina Fabricators, Inc.,     3831 Hwy 321,    W. Columbia, SC 29172-2824
19514443       +Carr Lane Mfg Company,     4200 Carr Lane Court,     PO Box 191970,   ST.Louis, MO 63119-7970
19514444       +Cashins & Associates Inc.,     599 North Ave #8,     Wakefield, MA 01880-1622
19514446       +Central Massachusetts Machine,     529 South East Street,     Holyoke, MA 01040-6005
19514448       +Chant Engineering,    59 Industrial Drive,     Doylestown, PA 18901-6007
19514449       +Chicago Industrial Fasteners, LLC,      C/o Summit Financial Resources LP,     4911 Solution Center,
                 Chicago, IL 60677-4009
19514450       +Comcast,    PO Box 1577,    Newark, NJ 07101-1577
19514452       +Copier Resource, Inc.,     PO Box 805,    68 South Maine Street,    Assonet, MA 02702-1710
19514457       +DSCI,    1 SUNDIAL AVENUE,    SUITE 414,    MANCHESTER, NH 03103-7257
19514453       +David Fine,    100 Front Street, Suite 1700,     Worcester, MA 01608-1426
19514454       +Diamond Technical services,     11 Depot Street,     S. Grafton, MA 01560-1305
19514455       +Digital Insurance, Inc.,     Attn Sheelah Gault,     400 Gallaria Parkway Suite 300,
                 Atlanta, GA 30339-3182
19514456       +Dolliff & Company Inc.,     PO Box 9118,    Chelsea, MA 02150-9118
19514458       +East Coast Express,    72 Liberty Street,     Plymouth, MA 02360-4140
19514459        Eastern Metal Industries,     910 R Broadway Route 1,     Saugus, MA 01906
19514460       +Eastern Scientific Sales & Service, LLC.,      301 Winter Street, #E,     Hanover, MA 02339-2581
19514461       +Electro Rent Corporation,     1770 Corporate Drive,     Suite 550,   Norcross, GA 30093-2945
19514462       +Entegee, Inc.,    PO Box 4410,    Boston, MA 02211-4410
19514463       +Fastenal,    259 Brooks St.,    WORCESTER, MA 01606-3307
19514464        FedEx,    3875 Airways, Module HS,     Dept. 4634,    Memphis, TN 38116
19562474       +FedEx TechConnect, Inc.,     3965 Airways Blvd.,     Module G, 3rd Floor,    Memphis, TN 38116-5017
19514466       +Fleet Couriers,    108 Middlesex St. Ste 8,     No. Chelmsford, MA 01863-2047
19514467       +Fraser Molloy,    P.O. Box 202,    Lincoln, MA 01773-0202
19514468       +Galaxy Fasteners,    101 Telmomre Road,     East Greenwch, RI 02818-1651
19514469       +General Sandblasting,    45 Turnpike Street,     West Bridgewater, MA 02379-1004
19514470       +Green Machine,    5 Providence Road,     Sutton, MA 01590-3818
19523760       +Gregory A. Ramsey, Esq. c/o Steel Forming, Inc. d/,       Twomey & Ramsey, LLP,
                 76 Woodland Street, Suite 203,     Methuen, MA 01844-4239
19514471       +Griffin Bolt, LLC.,    PO Box 280226,     East Hartford, CT 06128-0226
19514472        Guangzhou Qingsui Machinery Mfg C0. LTD,      No 3 Meishan North Road,
                 Nancun Town; Panyu district,     Guangzhou, China 00051-1442
19514473       +H & S Tool and Engineering, Inc.,      777 Airport Road,    Fall River, MA 02720-4724
19514479        HR Concepts, LLC,    11 Charles Street,     Manchester, NH 03101
19514475       +Harnum Industries LTD,     PO Box 339,    Methuen, MA 01844-0339
19542155       +Heat Treating Incorporated,     669 Cross Points Road,     Gahanna, MA 43230-6689
19514477       +Heat Treating, Inc,    6740 SE 110th ST #508,      Belleview, FL 34420-8433
19514478       +Helco Safety Equipment Corp.,     44 Pauline Street,     Winthrop, MA 02152-3038
19514480       +Huntington Mechanical laboratories, Inc.,      13355 Nevada City Avenue,
                 Grass Valley, CA 95945-9091
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                               Form ID: pdf012               Total Noticed: 179


19514481        +IN-CAL,    71C Pine Road,    Hudson, NH 03051-5322
19514482        +Intergrated Products & Rubber Co.,      2908 Whitehorse Ave,     Kettering, OH 45420-3925
19514488         JM Engineering & Designs Inc,      36 Buchanan Crescent,     Brantford, ON N3P2A5
19514486        +James Duva, Inc.,     66B Columbia Road,     Branchburg, NJ 08876-3519
19514487        +Jaramillo, Sergio,     172 Broadway, #176,     Chelsea, MA 02150-2737
19514489        +John Shurtleff,     5121 S 110 East Ave,     Tulsa, OK 74146-5819
19542154        +Jonathan H. Allen,     Peskin, Courchesne & Allen, P.C.,      101 State St,    Suite 401,
                  Springfield, MA 01103-2068
19514490        +Joseph Coppola,     142 Bayridge Lane,    Duxbury, MA 02332-5037
19514491        +K & B Equipment,     PO Box 66,    Rochester, MA 02770-0066
19514492        +K & S Tool & Die,     N8145 Maple Street,     Ixonia, WI 53036-9403
19514494        +KForce,    PO Box 277997,    Atlanta, GA 30384-7997
19514493        +Kessler Machine & Fabricators,      283 Neponset Street,     Canton, MA 02021-2970
19523982        +Kforce, Inc.,     1001 East Palm Avenue,     Tampa, FL 33605-3551
19514495        +Laser Process Mfg., Inc,     2 Centennial Drive,     Peabody, MA 01960-7919
19514496        +Liberty Mutual Insurance Group,      PO Box 7247-0109,     Philadelphia, PA 19170-0001
19514497        +Lincoln Electric,     PO Box 644248,    Pittsburgh, PA 15264-4248
19514498        +MacLellan Company,     121 Felton street,     Waltham, MA 02453-4139
19514499        +Main Source Inc.,     Paul C. Cabot,    14 Celina Avenue,     Nashua, NH 03063-1040
19514500        +Marco Rubber,     35 Woodworkers Way,    Seabrook, NH 03874-4327
19514501        +Mass Tank sales Corp,     29 Abbey Lane,     Middleboro, MA 02346-3230
19514502        +Massachusetts Department of Revenue,      Bankruptcy/Litigation Unit -7th Floor,      P.O. Box 9565,
                  100 Cambridge Street,     Boston, MA 02114-2509
19514504        +McMaster-Carr,     473 Ridge Road,    Dayton, NJ 08810-1323
19514505        +Memphis Control Center, Inc.,      584 Tillman Street, Suite #6,     P.O. Box 40510,
                  Memphis, TN 38174-0510
19514506        +Meserve Electric Inc.,     P.O. Box 478,     East Bridgewater, MA 02333-0478
19514507        +Metals USA Plates & Shapes,      10 Tower Road,    Seekonk, MA 02771-2607
19584397        +Michael E. Swain, Esq.,     901 Eastern Ave.,     Suite 2,    Fall River, MA 02723-2848
19514508        +MidCity Steel,     275 State Rd,    P.O. Box 820,    Westport, MA 02790-0698
19574828        +Miracle Networking Solutions, Inc.,      64 Settlers Crossing,     Middleboro, MA 02346-1661
19514513        +Muldoon Metals LLC,     33 Kensington Drive,     Sandwich, MA 02563-2419
19514514        +Nameplates for Industry, Inc.,      213 Theodore Rice Blvd,     New Bedford, MA 02745-1213
19514515        +New Bedford Welding Supply,      PO Box 951,    New Bedford, MA 02741-0951
19514516        +New England Rent-All Equipment, Inc.,      5 Main Street,     Lakeville, MA 02347-1617
19514517        +New England Sandblast & Paint,      221 Cranberry Hwy,     West Wareham, MA 02576-1504
19514518        +New Penn Motor Express, Inc.,      24801 Network Place,     Chicago, IL 60673-1248
19514519        +Nissan Motor Acceptance Corp,      P.O. Box 660360,    Dallas, TX 75266-0360
19514520         Norteast Freightways, Inc.,      PO Box 02876,    Slatersville, RI 02876
19528754        +Northeast Freightways, Inc.,      P.O. Box 863,    Slatersville, RI 02876-0899
19514521        +Northeast Industrial Technologies, Inc.,       1616 Hyde Park Ave,    Hyde Park, MA 02136-2458
19514522        +Northland Industrial Truck,      PO Box 845534,    Boston, MA 02284-5534
19514523        +Norton Equipment Rental, Inc.,      380 Old Colony Road,     Norton, MA 02766-2021
19514524        +O’Neal Steel, Inc.,     744 41st Street North,     Birmingham, AL 35222-1124
19514525        +One CIS Insurance,     PO Box 277908,    Atlanta, GA 30384-7908
19514526        +P. A. Florindo,     P.O. Box 580,    West Wareham, MA 02576-0580
19555546        +P.A. Florindo     Excavating Contractor,     P.O.Box 580,    West Wareham, MA 02576-0580
19514527        +Patrick Dinardo,     Sullivan & Worcester,     One Post Office Square,     Boston, MA 02109-2129
19582640        +Patrick P. Dinardo, Esq.,     Sullivan & Worcester LLP,      One Post Office Square,
                  Boston, MA 02109-2129
19514528        +Paul Younker,     35 Texas Street,    Marshfield, MA 02050-4521
19514529        +Peterson Steel Corporation,      61 West Mountain Road,     PO Box 60328,    Worcester, MA 01606-0328
19514530        +Phoenix Forging Co.,     800 Front Street,     Catasauqua, PA 18032-2343
19514531        +Pierce Aluminum Company, Inc,      34 Forge Park,    Franklin, MA 02038-3134
19514532        +Pilgrim Instrument & Controls, Inc.,      38 Union Street,     East Walpole, MA 02032-1018
19514533        +Piping Technology & Products, Inc.,      PO Box 34506,     Houston, TX 77234-4506
19514534        +Plainville Machine Co.,     65 Ronzo Road,     Bristol, CT 06010-8621
19514535        +Poland Spring,     PO Box 856192,    Louisville, KY 40285-6192
19514536        +Praxair Distribution,     99 Jackson Street,     Canton, MA 02021-2020
19514537        +Praxair Distribution, Inc,      Dept CH 10660,    Palentine, IL 60055-0001
19583624        +Praxair Distributon, Inc.,      63 County Road,    North Falmouth, MA 02556-2129
19514538        +Premco, Inc.,     55 Research Road,    Hingham, MA 02043-4377
19514539        +Prescor, Inc,     P.O. Box 9856,    Tulsa, OK 74157-0856
19514540        +Promat,    1731 Fred Lawson Dr.,     Maryville, TN 37801-5806
19514541        +QSC Forge,    2260 S.Archibald Ave Bldg A,      Ontario, CA 91761-8572
19582641        +RECOVERY CAPITAL LLC,     Patrick P. Dinardo, Esq.,     Sullivan & Worcester LLP,
                  One Post Office Square,     Boston, MA 02109-2129
19514542        +Radke Erica,    29 Junction Circle,     Attleboro, MA 02703-2567
19514543        +Recovery Capital, LLC,     65 West Street,     Beverly, MA 01915-2227
19514544        +Ryerson Steel,     45 Saratoga Blvd,    Devens, MA 01434-5216
19514545        +S&T Precission Plate Cutting, Inc.,      205 Commercial street Rear,      Whitman, MA 02382-2401
19514549        +SPD,    PO Box 2,    North Reading, MA 01864-0002
19514546        +Shrink Wrap Solutions,     1065 Progress Circle,     Lawrenceville, GA 30043-4646
19514547        +Simpson Gumpertz & Heger, Inc.,      c/o Howard L. Newell, Esq.,     P.O. Box 2589,
                  Framingham, MA 01703-2589
19514548        +Smusz Daniel,     56 Hillcrest Avenue,    Attleboro, MA 02703-6038
19514550        +Speedy Metals LLC,     2505 S 162nd Street,     New Berlin, WI 53151-2807
19514552        +Steel Industries, Inc.,     PO Box 842282,     Dallas, TX 75284-2282
19514553        +Sterling Seal & Supply Inc,      541 Johns Road,    Apopka, FL 32703-6204
19514554        +TEK Stainless Piping Products,      P.O. Box 1656,    Zachary, LA 70791-1656
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                                Form ID: pdf012             Total Noticed: 179


19514511       ++THERMAL CERAMICS,    2102 OLD SAVANNAH ROAD,     AUGUSTA GA 30906-2197
                (address filed with court: Morgan Advanced Materials,        Len Milaszewski,   PO Box 923,
                  Augusta, GA 30903)
19514560        +TMH Machining & Welding Corp,     124 Turnpike St. Unit 15,     West Bridgewater, MA 02379-1071
19523132        +TMH Machining & Welding, Corp.,     124 Turnpike Street, Suite 15,
                  West Bridgewater, MA 02379-1071
19514561        +TRI-STATE Fasteners,    65 Vineyard Road,     Seekonk, MA 02771-2623
19514555        +Tendco R& D Corporation,     29 Abbey Lane,    Middleboro, MA 02346-3230
19514556        +Thomas Kalperis,    63 County Road,    North Falmouth, MA 02556-2129
19514557        +ThomasNet,    Dept CH 14193,    Palatine, IL 60055-0001
19514558        +Tierney & Dalton Associated, Inc.,     89 Cliff Street,     PO Box 652,   Douglas, MA 01516-0652
19514559        +Tioga Pipe Supply Company, Inc,     2450 Wheatsheaf Lane,     Philadelphia, PA 19137-1098
19514509        +Town of Middleboro,    PO Box 832,    Middleboro, MA 01867-0420
19576628        +Town of Middleborough,    20 Center Street,     Middleborough, MA 02346-2264
19514562        +Triangle Engineering, Inc.,     6 Industrial Way,    Hanover, MA 02339-2425
19514563        +Turner Steel,    128 North Main Street,     PO Box 399,    West Bridgewater, MA 02379-0399
19560866        +UniFirst Corporation,    c/o Joseph T. Moen,     Atkins Callahan, PLLC,
                  1B Commons Drive, Suite 9B,     Londonderry, NH 03053-3442
19514564        +UniFirst Corporation,    1 Victory lane,     Sandwich, MA 02563-5118
19514566        +Vanguard Cleaning Systems,     21 Douglas Ave,    Providence, RI 02908-3223
19514567        +Vector Transport,    PO Box 3292,    Tupelo, MS 38803-3292
19514568        +Vertex Rail Technologies, LLC,     603 West Street,     Mansfield, MA 02048-1120
19514569        +W.R. Sharples Company, Inc.,     211 John Dietsch Square,     N. Attleboro, MA 02763-1027
19514570        +WB Mason Co., Inc.,    59 Centre Street,     Brockton, MA 02301-4075

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
acc            +E-mail/Text: ebn@vlpc.com Apr 19 2018 23:44:14       Craig R. Jalbert,     Verdolino & Lowey, P.C.,
                 124 Washington Street,    Foxborough, MA 02035-1368
19514420       +E-mail/Text: odel_frett@agilent.com Apr 19 2018 23:44:31        Agilent Technologies, Inc.,
                 4187 Collections Center Drive,     Chicago, IL 60693-0041
19514423       +E-mail/Text: michael.dente@airgas.com Apr 19 2018 23:44:27        Airgas Safety, Inc,
                 PO Box 951884,    Dallas, TX 75395-1884
19528626       +E-mail/Text: ndiv.bkrpt.notice@airgas.com Apr 19 2018 23:44:15        Airgas USA, LLC,
                 6055 Rockside Woods Blvd.,    Independence, OH 44131-2301
19514429       +E-mail/Text: accounting@atlanticfasteners.com Apr 19 2018 23:44:26         Atlantic Fasteners,
                 49 Heywood Ave,    PO Box 1168,    W.Springfield, MA 01090-1168
19514447       +E-mail/Text: kwoods@centralsteelservice.com Apr 19 2018 23:44:27
                 Central Steel Service, Inc.,     PO Box 1506,   Pelham, AL 35124-5506
19514451       +E-mail/Text: credit@cmforming.com Apr 19 2018 23:44:28       Commercial Metal Forming,
                 P.O. Box 599,    1775 Logan Ave,    Youngstown, OH 44505-2622
19520297       +E-mail/Text: duabankruptcy@detma.org Apr 19 2018 23:44:18        Commonwealth of Massachusetts,
                 Department of Unemployment Assistance,     Charles F. Hurley Building,     19 Staniford Street,
                 Boston, MA 02114-2502
19576627       +E-mail/Text: legal@fastenal.com Apr 19 2018 23:44:13       Fastenal Company,     2001 Theurer Blvd.,
                 Winona, MN 55987-9902
19514476       +E-mail/Text: memigholz@thehaunedge.com Apr 19 2018 23:44:24        Haun Welding Supply Inc.,
                 Josh Haun,    5921 Court Street Road,    Syracuse, NY 13206-1707
19514483       +E-mail/Text: cio.bncmail@irs.gov Apr 19 2018 23:44:11       Internal Revenue Service,
                 P.O. Box. 7346,    Philadelphia, PA 19101-7346
19514484       +E-mail/Text: leticia.lopez@intertek.com Apr 19 2018 23:44:12
                 Intertek Testing Sevices NA, Inc.,     PO Box 405176,   Atlanta, GA 30384-5176
19514485       +E-mail/Text: b.bragg@myjacquet.com Apr 19 2018 23:44:10        Jacquet Mid Atlantic, Inc.,
                 191 South Keim Street,    Suite 108,    Pottstown, PA 19464-6046
19514512       +E-mail/Text: creditdept3rdpartyBKR@mscdirect.com Apr 19 2018 23:44:10
                 MSC Industrial Supply Co.,    Dept CH 0075,    Palatine, IL 60055-0001
19514503       +E-mail/Text: duabankruptcy@detma.org Apr 19 2018 23:44:18
                 Massachusetts Department of Unemployment,     Legal Dept, 1st Floor,     Attn: Chief Counsel,
                 19 Staniford Street,    Boston, MA 02114-2502
19528625       +E-mail/Text: bob.bolduc@nitco-lift.com Apr 19 2018 23:44:09
                 Northland Industrial Truck Co., Inc.,     6 Jonspin Road,   Wilmington, MA 01887-4408
19514551        E-mail/Text: appebnmailbox@sprint.com Apr 19 2018 23:44:16        Sprint,    6391 Sprint Parkway,
                 Overland Park, KS 66251
19514565       +E-mail/Text: bankruptcy@ups.com Apr 19 2018 23:44:31       United Parcel Service,
                 55 Glenlake Parkway NE,    Atlanta, GA 30328-3498
                                                                                                TOTAL: 18

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Botelho & Associates, LLC,   901 Eastern Ave.,   Suite 2,   Fall River, MA 02723-2848
cr*              +Recovery Capital, LLC,   65 West Street,   Beverly, MA 01915-2227
19574671*         H&S Tool and Engineering, Inc.,   777 Airport Road,   Fall River, MA 02720-4724
19514465       ##+FIRST Insurance Funding Corp,    PO Box 66468,   Chicago, IL 60666-0468
19514474       ##+Hadco Metal Trading Co., LLC.,   2811 Charter Road,   Philadelphia, PA 19154-2115
19514571       ##+Zee Medical, Inc.,   PO Box 781433,   Indianapolis, IN 46278-8433
                                                                                              TOTALS: 0, * 3, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
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             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 21, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 19, 2018 at the address(es) listed below:
              Anthony Leone     on behalf of Plaintiff Donald Lassman aleone@murthalaw.com
              Donald Lassman     don@lassmanlaw.com, dlassman@ecf.epiqsystems.com
              Gary W. Cruickshank    on behalf of Creditor    Tendco R&D Corporation gwc@cruickshank-law.com
              Jesse I. Redlener    on behalf of Defendant    Vertex Railcar Corporation
               jredlener@ascendantlawgroup.com
              Jesse I. Redlener    on behalf of Defendant    Vertex Rail Technologies, LLC
               jredlener@ascendantlawgroup.com
              Jesse I. Redlener    on behalf of Defendant Donald Croteau jredlener@ascendantlawgroup.com
              John Fitzgerald     USTPRegion01.BO.ECF@USDOJ.GOV
              John M. McAuliffe    on behalf of Debtor    Vertex Fab & Design, LLC john@jm-law.net,
               kathryn@jm-law.net
              Mark G. DeGiacomo    on behalf of Trustee Donald Lassman mdegiacomo@murthalaw.com,
               MA42@ecfcbis.com;jbabula@murthalaw.com
              Michael Connolly     on behalf of Plaintiff Donald Lassman mconnolly@murthalaw.com
              Michael E. Swain    on behalf of Creditor    Botelho & Associates, LLC bankruptcy@orlansmoran.com,
               Michael@attorneyswain.com;ANHSOM@4stechnologies.com
              Michael J. Fencer    on behalf of Defendant    Vertex Rail Technologies, LLC
               fencer@casneredwards.com
              Michael J. Fencer    on behalf of Defendant Donald Croteau fencer@casneredwards.com
              Michael J. Goldberg    on behalf of Defendant Donald Croteau goldberg@casneredwards.com
              Michael J. Goldberg    on behalf of Defendant    Vertex Rail Technologies, LLC
               goldberg@casneredwards.com
              Michael K. Lane    on behalf of Debtor    Vertex Fab & Design, LLC mlane@jm-law.net
              Patrick P. Dinardo    on behalf of Creditor    Recovery Capital, LLC pdinardo@sandw.com,
               cbullock@sandw.com;jcarey@sandw.com;nkoslof@sandw.com
                                                                                              TOTAL: 17
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